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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


CYNTHIA ARCHER-GIFT,
                                              Case No.         15-14467
              Plaintiff,
                                              HONORABLE AVERN COHN
v.

CITIGROUP, INC., ET. AL.,

              Defendant.
                                          /

                                       JUDGMENT

       For the reasons stated in the Decision entered on January 30, 2017, judgment is

entered in favor of defendant and against plaintiff and the case is closed.




                                          DAVID WEAVER

Dated: January 30, 2017                   By: s/Marie Verlinde
                                                Deputy Clerk



I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, January 30, 2017, by electronic and/or ordinary mail.


                                          s/Marie Verlinde
                                          Case Manager, (313) 234-5160
